946 F.2d 1567
    292 U.S.App.D.C. 87
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Walter L. PARMAN, Appellant.
    No. 90-3143.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 18, 1991.
    
      Appeal from the United States District Court for the District of Columbia, No. CR-84-00251-01;  Jackson, J.
      Before BUCKLEY, SENTELLE and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed May 2, 1990 be affirmed.   Because appellant was committed to the custody of the Attorney General pursuant to D.C.Code Ann. § 24-425,  see United States v. Cannon, 645 F.2d 1128, 1138 (D.C.Cir.1981), his conviction for escape under 18 U.S.C. § 751(a) was proper.   See Rivers v. United States, 334 A.2d 179, 182-83 (D.C.1975);   Milhouse v. Levi, 548 F.2d 357, 359-61 (D.C.Cir.1976).   Appellant's remaining contentions are similarly without merit.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    